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STATE OF SOUTH CAROLINA ) IN THE COURT OF COMMON PLEAS
COUNTY OF MARLBORO ) C/A NO.: 2024-CP-34-
)
Lamill Holding Company, and )
AGA Capital, LLC, )
)
Plaintiff, )
)
Vv. ) (Jury Trial)
)
Bitmain Technology Georgia Limited, )
)
Defendant(s). )
)
SUMMONS

TO: THE ABOVE-NAMED DEFENDANT(s), Bitmain Technology Georgia

Limited:

You are hereby summoned and required to appear and defend by answering the

Complaint in this action, a copy of which is served upon you with this Summons and to

serve a copy of your answer on Robert E. Lee, Esquire at Post Office Box 1096, Marion,

South Carolina 29571 within thirty (30) days after this service excluding the day of this

service. If you fail to answer, judgment by default will be rendered against you for the

relief demanded in the Complaint.

July 25, 2024
Marion, South Carolina

ROBERT E. LEE, LLC

s/Robert E. Lee

Robert E. Lee — S.C. Bar No. 63052
Post Office Box 1096

Marion, South Carolina 29571
Telephone: (843) 423-1313
Facsimile: (843) 423-1397
rel@rellawfirm.com

ATTORNEY FOR THE PLAINTIFFS

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STATE OF SOUTH CAROLINA ) IN THE COURT OF COMMON PLEAS

)
COUNTY OF MARLBORO ) C.A. No. 2024-CP-34-

LAMILL HOLDING COMPANY, and
AGA CAPITAL, LLC,

Plaintiffs, COMPLAINT

BITMAIN TECHNOLOGY GEORGIA
LIMITED,

)

)

)

)

)

Vv. )
)

)

)

)

Defendant.  )
)

The Plaintiffs, Lamill Holding Company, (“Lamill”) and AGA Capital, LLC (“AGA,”
together with Lamill, the “Plaintiffs”), complaining of the Defendant, Bitmain Technology
Georgia Limited (“Bitmain” and the “Defendant” alleges the following:

JURISDICTION AND VENUE
1. Plaintiff, Lamill Holding Company, is a corporation organized and existing
pursuant to the laws of the state of Delaware owning general intangibles in South
Carolina.
2. Plaintiff, AGA Capital, LLC, f/k/a AGA Mining, LLC, is a limited liability company
organized and existing pursuant to the laws of the state of Delaware owning general
intangibles in South Carolina.
3. Upon information and belief, Defendant, Bitmain Technology Georgia Limited, is
a corporation organized and existing pursuant to the laws of the state of Georgia, doing
business in Marlboro County, South Carolina.
4. This Court has jurisdiction based upon Article V of the South Carolina
Constitution, S.C. Code Ann. §§ 15-7-30; 15-53-10 et seq. (2005); and its plenary powers.
5- Jurisdiction is proper in this Court and venue is proper in Marlboro County, South
Carolina. The Defendant entered one or more contracts, to be performed in whole or in
part in Marlboro County, South Carolina. The Defendant has and presently conducts
business in South Carolina, including, upon information and belief, operating a business

in Marlboro County, South Carolina. A substantial part of the events giving rise to the

Page 1 of 4

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claims alleged by Defendant in its ‘matter before the American Arbitration Association
occurred in Marlboro County, South Carolina.
GROUNDS FOR RELIEF
6. This action for declaratory judgment is brought pursuant to S.C. Code Ann. §§ 15-
7-30; 15-53-10 et seq. to determine the rights of the parties under a contract dated August
5, 2023, which is attached hereto as Exhibit “A” and incorporated herein by reference
thereto (the “Agreement”).
7. Pursuant to S.C. Code Ann. § 15-53-30, Plaintiffs seek a declaration as to whether
the Plaintiffs, non-signatories to the Agreement can be compelled under that same
agreement to arbitrate tort causes of action brought by the Defendant against them with
no relation to that same agreement.
8. Further and pursuant to S.C. Code Ann. § 15-48-20, Plaintiffs seeks an order
staying the arbitration proceeding commenced by the Defendant
9. Pursuant to S.C. Code Ann. § 15-48-10, the Agreement is not an agreement to
arbitrate as it was not made between the parties, namely the Plaintiffs.
10. The Plaintiffs have never agreed to the arbitration of any claims between them and
the Defendant and have never signed an agreement agreeing to the same.
11. The Defendant is aware that no agreement to arbitrate between the Plaintiffs and
the Defendant exists. .
12. Despite possessing this knowledge, the Defendant instituted an arbitration
proceeding with the American Arbitration Association by way of filing a demand on June
3, 2024 (the “Demand”).
13. | The Defendants, represented by experienced and competent counsel, did not serve
the Plaintiffs with notice of the Demand and, rather, attempted to continue the
proceedings after only emailing the same to the actual signatory to the Agreement.
14. The question of the arbitrability of a claim is an issue for judicial determination.
The Defendant has failed to file an action in Circuit Court in accordance with S.C. Code
Ann. § 15-48-20.
15. By continuing to attempt to proceed with the arbitration process, the Defendant is

attempting to deprive the Plaintiffs of their due process and important substantive, ©

procedural, and constitutional rights.

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16. The claims brought by Defendant against the Plaintiffs sounds exclusively in the
tort of veil piercing or alter ego. The Demand itself does nothing more than recite basic
elements to such a claim with no factual: basis supporting them. The claim does not
reference, in any sense related to, or arise under and of the claims it may have in the
Demand against the signatory to the Agreement.
17. Plaintiffs seek the determination and declaration that the claims of Defendant are
not subject to arbitration, and that the underlying contract does not allow for the
mandatory arbitration demanded by the Defendant.
18. The arbitration process instituted by the Defendant was started and continued
unilaterally by the Defendant to the extreme prejudice of the Plaintiffs.
19. The Defendant persists in the arbitration process when it knows that the claims are
not subject to mandatory arbitration and the Plaintiffs have never agreed to arbitration
or signed an arbitration agreement.
20. The Defendant has no contractual right to compel arbitration.
21. The Plaintiffs have made no appearance in the arbitration process, have neither
filed any responsive pleadings to the Defendant’s Demand nor engaged in any discovery
in the arbitration process.
22. The Plaintiffs have been required to incur unnecessary attorney’s fees and costs
due to the actions of the Plaintiff and requests that they be granted judgment against the
Defendant for all its attorney’s fees and costs. )
PRAYER FOR RELIEF
WHEREFORE, Plaintiffs pray as follows:
a. This Court enter an order staying the arbitration process immediately.
b. This Court enter an Order declaring that the claims of Defendant against Plaintiffs
in its Demand are not subject to arbitration under the terms of the Agreement.
c. That this Court grant Plaintiffs judgment against the Defendant for their attorney’s
fees, costs, and litigation expenses; and
d.. That this Court award such further relief that the court deems necessary and

proper.

(SIGNATURE ON THE FOLLOWING PAGE)

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July 25, 2024
Marion, South Carolina

ROBERT E. LEE, LLC

s/Robert E. Lee

Robert E. Lee — S.C. Bar No. 63052
Post Office Box 1096

Marion, South Carolina 29571
Telephone: 843-423-1313
Facsimile: 843-433-8258
E-Mail: rel@rellawfirm.com

ATTORNEY FOR THE PLAINTIFFS

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STATE OF SOUTH CAROLINA IN THE COURT OF COMMON PLEAS

)
)
COUNTY OF MARLBORO ) C.A. No. 2024-CP-34-

LAMILL HOLDING COMPANY, and
AGA CAPITAL, LLC,

Plaintiffs,

BITMAIN TECHNOLOGY GEORGIA
LIMITED,

)

)

)

)

)

v. )
)

)

)

)

Defendant. )
)

AFFIDAVIT OF RICHARD GLEISSNER
PERSONALLY APPEARED before me, an officer duly authorized by law to
administer oaths, Richard Gleissner, who after first being duly sworn, states:

1. My name is Richard Gleissner, and I am competent in all respects to testify
regarding the matters set forth herein.

2. I and my firm are, and have been at all times relevant herein, the attorneys for
Bennettech LLC,

3. Bennettech LLC is a named party in an arbitration proceeding instituted by
Bitmain Technology Geogia Limited (the “Defendant”) with the American
Arbitration Association; Arbitration Case No. 01-24-0005-7869 (the “Arbitration
Proceedings”).

4. The Arbitration Proceedings were instituted by way of a demand filed by the

Defendant on June 3, 2024 (the “Demand”).

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5. A true and correct copy of the agreement attached to the Demand, incorporated
therein, and relied upon for purposes of asserting an agreement to arbitrate among
the named parties is attached hereto as Exhibit “A”.

6. Lamill Holding Company, (“Lamill”) and AGA Capital, LLC, formerly AGA Mining,
LLC (“AGA,” together with Lamill, the “Plaintiffs”) were both named parties to the
Demand.

7. Neither Plaintiff are named parties to the agreement attached to the Demand.

8. The Defendant continues to persist in its prosecution of its claims in the
Arbitration Proceedings.

9. The claims brought by Defendant against the Plaintiffs sound exclusively in the
tort of veil piercing or alter ego. The Demand itself does nothing more than recite

basic elements to such a claim with no factual basis supporting them. The claim

does not reference, in any sense related to, or arise under and of the claims it

asserts under the alleged agreement attached to the Demand.

FURTHER AFFIANT SAYETH NAUGHT

OY > ELINA
Md AKL

Richard R. Gleissner

Sworn to and subscribed before
Me this 25 day of July 2024

Notary Public, Sfar@r South Carolina
My Commission Expires: fipnil 12,2033

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SERVICE FRAMEWORK AGREEMENT
THIS AGREEMENT (the “Agreemeat”) is made on August 5. 2023.
BETWEEN:

(1) BITMAIN TECHNOLOGIES GEORGIA LIMITED, a carporaiian incorporated
under the laws of the State of Georgia, the United States af Ametica (File No.
21203283), having tés registered office al. 900 Old Roswell Lakes Parkway. Suife 310,
Roswell. GA 30076 (*BITMAIN”); and

(2) BENNETTECH ELC, a limited liability company formed under the laws af the state
of South Carolina, ihe United States of America (Pile No. 230424-[52941 8), having its
registered office at 215 East Bay St, Suite 201k #1712, Charleston, South Cavelina
2940 (“Service Previder”).

Each of the partics lo this Agreement is referred herein individually as a “Party” and
collectively as the “Parfies™.

WHEREAS:

(A) Service Provider is the owner and aperator of the Data Center Facility (as defined belaw)
and provides Services (as defined below) at the Data Center Facility.

(B)  BITMAIN iniends to situate the Hosted Servers (as defined below) al the Data Cenier
Facility aud receive Services from Service Provider in accordance with the icems and
conditions of this Agreement.

NOW, THEREFORE, in consideration al the premises and the mute covenants set forth in
this Agreement, the parties agree as fallaws:

1. DEFINITIONS AND INTERPRETATIONS
Lf. In this Agreement, these expressions have the following meanings:

“Actual Hasting Unie Price” means the effective unit orice per kWh applicable ducing
the relevant Billing Peviad under the applicable Service Order. which shall initiaily be
the same as the Narmat Hosting Unit Price set forth in such Service Order , subject to
the adjustment mechanism in accerdance with Article 3.2 and/or Article 6.9(¢) i
applicable).

“Affliate” means, with respect to any Person, any other Person that divectly or
indirectiy Controls, is Conirolled by. ar is under common Contra! with such Person.

“Appheabie Law” means any weary, law. decree. arder, regulation, decision, statute,

ordinance, rule, directive, cade or other document that has lega! force undee any system

of law, including, without limitatian. local law. law of any other state or part thereof or
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international law, and which creates or purports ta create any requirement or rule that
may alfect, restrict, prohibit or expressly allaw the terms of this Agreement or any
activily contemplated or carried out under this Agreement.

“Billing Period” means the period of approximate one (UL) month for which Service
Provider issues invoices to BITMAIN for the Services provided by Service Provider
during such peciod, the determination of which shall fallow the following principle: (a)
the first Billing Period shall commence from 00:00 (Beijing Time) on the Initial Date
until 23:59 (Beijing Time) on the last calendar day af the same month, and (6) each of
the subsequent Billing Periods shal] commence from 00:00 (Beijing Time) on the {irst
calendar day of the month following the previous Billing Period until 23:59 (Beijing
Time) on the last calendar day of such month.

“Business Day” means a day (other than Saturday, Sunday or public holiday) on which
banking institutions in the Relevant lurisdiction are open generally for business.

“Coutral™ means, with respect to any Person, the power or authority, whether exercised
or nat, to direct the business, management aud policies of such Person, directly or
indirectly, whether through the ownership of vating securities, by cantract ar otherwise,
pravided (hat, in the case of a Person that is an entity, such power ar authority shall
conclusively be presumed to exist upon possession of beneficial ownership or pawer to
direct the vote of more than [ify percent (50%) of dhe vates entitled fo be cast ala
meeting of the holders of the shares or other equity interests ar registered capital afsuch
Persan or power to control the composition of a majority of the board of directors ar
similar governing body of such Person. The terms “Contralfed” and “Controlling”
have meanings carrelative to the foregoing.

“Data Center Facility” means the data center facility awaed and operated hy Service
Provider, details of which shall be submitted to BITMAIN in the form set forth in
EXHIBIT A of APPENDIX [ hereto, where Service Provider provides the Services to
BITMAIN pursuant to the applicable Service Order(s)-

“Delayed Compensation” means the cotresponding amount payable by cither Party as
compensation for its delayed perfurmance in accordance with Articles 3.4(A)(b),
3.4(A)(c) and 3.4(A)(d).

“Deposit” means the amaunt payable by BITMAIN to Service Pravider equal to one
(1) month of the theoretical amount of the Hosting Fees for one Billing Period, based
on the Hosting Quantity for the respective batch of the Hosted Servers, calculated in
accardance with the follawing formula: Deposit = Hosting Quantity for the respective
batch of the Hosted Servers = 3.6 (kW) * Normal Hosting Unit Price x 24 x30; the
specific amount of the Deposit shall be initially set forth in paragraph 3.1 of the
applicable Service Order, subject ta the adjustment in accordance with Article 6.1(b)
and/or Article 6.1(e) (if applicable).

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“Digital Assets Price” means the price of the applicable digital asset at the relevant
hour (Beijing Time), deneminated in US Dollars and published on the website of
Caiumarketcap (ities: vculamarketcanceny),

“End-Period Meier Reading” means the meter reading of the Separate Meter taken at
23:59 (Beijing Time) an the lust day of the applicable Billing Period.

“Force Majeure” means in respect of either Party, any event or occurrence whatsoever
beyond the reasonable contral of that Party. which delays, prevents or hinders that Party
fram performing any obligation imposed upon that Party under this Agreement,
including to the extent such event or occurrence shall delay, prevent ec hinder such
Party from performing such obligation, war (declared or undeclared), terrorist activities,
acts of sabotage. blackade, fire, lightning, acts of god, national strikes, riots,
insurrections, civil commotions, quarantine restrictions, epidemics, carthquales,
landslides, avalanches, (loods, hurricanes, explosions and regulatery and administrative
or similar action ar delays to take actions of any gavernmental authority.

“Hosted Servers” means the supercampuling servers and ancillary hardware
equipment owned by BITMAIN ar its designated thire party(ies) and hosted at the Data
Center Facility pursuant to the applicable Service Order.

“Hosting Capacity” shall have the meaning ascribed to iL in the applicable Service
Ordec.

“Hosting Feegs}* means tie ice for the Services payable by BITMAIN ta Service
Provider based on the Power Cansumption during the applicable Billing Periad, which
shall be calculated in accordance with Article 3.1. For the aveidanee of doubt, in no
event shall the Hosting Fee be determined in accordance with the quantity of Hosted

Servers.

“Hasting Fee Reiie™ means the ratio af the Hosting Fee to the Theoretical Hashrate
PPS Income during the relevaat periad.

“Hosting Quantify” means the agreed quantity of the Hasted Servers in accordance
with the applicable Service Order, for which Serviec Pravider shall provide ihe Hosting
Capacity, the details of which shail be initially set forth in paragraph 2 of the applicable
Service Qrder and subject ta adjustment in accurdance with paragraph 2.3 af the
applicable Service Order, Article 6.1(b) and/or Article 6.1() herein. or other
adjustment as agreed by the Parties; pravided that the adjustment shall be confirmed in
writing by the Parties by either emails er a supplemental agreement liereio.

“Tuitiat Date? means the date on which the Hosted Servers under tie Service Giter, or

the first batch of Hosted Servers if there are more than one batch under the Service
Order, ace powered-an for normal hasting aad operation (i.¢.. Seplember 30, 2023).

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“Inventory Assets” means any asset stored or kept by BITMAIN at the Data Center
Facility other than the Hosted Servers. which may include, without limitation, servers
or hardware equipment that are damaged, defective, malfunctioning or not operating,
servers or hardwace equipment that are returned for maintenance and repair, servers ar
hardware equipment that are backup ta the Hasted Servers, the spare parts and
components for the maintenance and repair of the Hosted Servers, and the packaging
materials for the Hosted Servers.

“Knowledge” means with respect ta Serviec Provider, the actual knowledge of Service
Provider, and that knowledge which should have been acquired by Service Provider
afler making such due inquiry and exercising such due diligence as a prudent business
person who would have made or exercised in the management of its business affairs,
including but not limited to due inquiry of all necessary officers, directars and
professional advisers of Service Provider and its Affiliates wha could reasonably be
expected ta have knowledge of the matters in question.

“Low Power Mode” means Hosted Servers operate in such a mode that cansumes less
amount of electrical power than Rated Power and contribute less hashrate than Rated
Hashrate duc to the limitation an its performance imposed by and subject to the sale
discretion of BITMAIN.

“Minimum Power Commitment” means the commitment of power consuniption of
Service Provider pursuant to the applicable Power Purchase Agreement, the failure to
utilize electrical power under which, or the failure to make payment af which regardless
of the actual uuilization, will constilute a breach of cantract under such Power Purchase
Agreement. The specific amount of the Minimum Power Commitment shall be set forth
in the applicable Information Memorandum of Data Center Facility.

“Minimum QWosting Unit Price® shal] have the meaning ascribed to it in the applicable

Service Order.

“Monitoring Software” means the software designated by the Parties (0 monitor the
operation of the Hasted Servers, which shall be AntSentry (version V2 or such other
version as may be upgraded by BITMAIN from lime to time) unless otherwise mutually
agrced between the Parties in the applicable Service Order.

“Monthly Theoretical Hosting Fee* means the theoretical amount of the Hosting Fee
for one (1) month, which shall be calculated in accordance with the following formula:
Monthly Theoretical Hosting Fee = SRated Power af Each Hosted Server Powered-On
(kW) x Narmal Hosting Unit Price x 24 x 30.

“Normal Hosting Unit Price” shall have the meaning ascribed (0 it in the applicable
Service Order.

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“Online Sfatus™ means the status afa Hosted Seever that is powered-an with canstant
supply of electrical power, has stable conneetion with network and is accessible via the
Montloring Software where the status tag “Online” is indicated for such Hosted Server.

~Ouline Status Ratio” means a (raction where the numeratar is the sum af the actual
length of time af cach Hosted Server in Online Status during the applicable Billing
Period, and the denominator is the product af the Hosting Quantity of Hasted Servers
and the theoretical length of tine of cach Hosted Server in Online Siatus during the
applicable Billing Period. The Online Status Ratio shall finally be determined by the
data as illustrated on. the Monitoring Software, except that if there fs a technical failure
(including, but nat limited to, technical failure of the Monitoring Software and/or the
Iosted Servers. ar affline of the NUC, ete.) that prevents fram reading certain data, the
aforementioned numerator and denominator shall be adjusted accordingly to subtract
such time during which the relevant daia cannot be read due to such technical failure.
unless otherwise agreed by the Parties. For (he avoidance of doubt. calculation of
Online Status Ratio for purpeses of Article 3.9 shall nat be adjusted for any technical

failures.

“Permitted Disputed Ltems” has the meaning ascribed fe such teem in Article
3.6(b)(v).

“Persan™ means any individual, corperation, partnership, fimited partnership,
propcictorship, association, limited liability company, firm. tust. estate or other
enterprise or entity Qvhether or not having separate leeal personality).

“Pawer-off Server(s)” means Hosted Server(s) that isfare powered aff veluntarily by
BITMAIN pursuant ta Article 3.1.

“Power Consumption” means the amount of elecwical pawer consumed by the Hasted
Servers during the applicable Billing Period, including any of the Hosted Servers under
the Low Pawer Made, whieh shall be determined oy subtracting the [End-Period Meter
Reading of the Billing Period inmmedialely preceding the relevant Billing Period Fram
the End-Period Meter Reading of the relevant Billing Pertad, the unit ef which shall be

kWh.

“Power Purchase Agreenient™ means the power purchase agreement. or other similar
agreement for pracuremeni of electrical power for the Data Center Facility, entered inte
between Service Provider and the relevant power supplier af the Data Center Facility.

“Rated Hashrate” means the rated hashrate stated en the fuctary label of the applicable
Elosted Server.

“Rated Power” means the amount of the raied clectvical power slated on the factory
label of the applicable Hosted Server.

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BITMAIN via

“Reconciliation Statement™ means the statement issued by Service Provider to
BITMALN every Billing Period {or recanciliatian between the Parties, which shall set
oul details including but not limited to Power Consumption, the applicable Actual
Hosting Unit Price, the Online Status Ratio, Hosting Fees chargeable, any occurrence
of interruption ar suspension of any Service during such Billing Periad, the form of
which is set oul in APPENDIX I hereto.

“Relevant Jurisdiction” means the State of Geargia of the United States of America.

“Separate Meter” means the separate meter installed by Service Pravider at the Data
Center Facility for metering the electrical power consumed by the Hasted Servers.

“Service” means the hosting service(s) provided by Service Provider to BITMAIN
pursuant to this Agreement subject to the actual service(s) agreed between the Parties
in the applicable Service Order. For the avoidance of doubt, the Parties agree and
acknowledge that the Service does nat include any operation ar maintenance of Hosted
Servers.

“Service Order(s)” means the Service Order(s) executed by the Partizs in the farm set
out in APPENDIX [ hereto. as amended frem (ime to lime in accordance with this
Agreement.

“Theoretical Hashrate PPS Income” means the theoretical earnings af the applicable
Hosted Server based on the Rated IHashrate af such Hosted Server with reference to the
prevailing network difficulty during the relevant periad and the Digital Assets Price,
which shall be calculated based on the real-time total network hashrate and the price of
Bitcoin (BTC), with a sampling frequency of once an hour an a credible third-party
platform!, and the average value of the relevant data in cach relevant period shall be the
Theoretical Hashrate PPS Income of such period, the specific value shall be determined
by the data as illustrated on the Monitoring Software. Far avoidance of doubt, the
Parlies agree that: (a) when calculating the Hosting Fee Ratio for the Actual Hosting
Unit Price Adjustment in accordance with Article 3.2 or the provision of Incentive
Coupon ia accordance with Article 3.9, the relevant period shall be the carresponding
Billing Period: (b) when calculating tie Hosting Fee Ratia for the voluntary power-off
in accordance with Article 5, the relevant period shall 6c the consecutive 24* [4 hours
as stipulated in Article 5.1.

1.2. In this Agreement, unless otherwise specified:

(iy words importing the singular include the plural and vice versa where the context

sa requires;

' Unless otherwise specified by BITMAIN, the thicd-party platform shall be the website af Coiamarketcap

(https:/fcoinmarketcap.conv).

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(i) the headings in this Agreement are (or convenience only and shall not be taken
inte consideration in the tterpretadian or construction of this Agreement:

(iti) references to Articigs and Appendix(es) are references to the articles and
appendix(es) af this Agreement:

(iv) references to days, dales and times are to the days. dates and times of the
Relevant Jurisdictian, unless otherwise indicated:

(v) any reference ta a cade, law, statute, statutory provision, statutory instrument,
order, regulation or giher instrument af similar effect shall include any re-
enaciment ar amendment thereat for the time being in force:

(vi) understanding and interpretation of this Agrcemeni shall be based ou the
purpase of this Agreement and the ariginal meaning af the context and
prevailing undersianding aud practice in the industry, and provisions of this
Agreement and relevant Appendix(es) shall be understood aud interpreted as a

whale;

(vii) any prices ar fecs set forth in this Agreement ave not subject ta turnaver taxcs
including but limited te sales and use tax, valued added tax and any ofher
governmental charges and duties similar to the tumnover tax according to the
State tax regulation of the relevant jurisdiction (Le. State of Sauth Carolina):
and

(viii) ~S") "USS", CGS dullar’, “US dollars”, “doflar” and “dollars” denote lawful
currency of the United Siates of America.

SCOPE GF SERVICES

Subject to the terms and canditians of this Agreement, Service Previder shall provide
to BITMAIN, and BITMAIN shall reecive from Service Provider. the Services agreed
in cach of the applicable Service Orders.

HOSTING FLEE AND PAYMENT

Hasting Fee Calculation. Hosting Fee fee cach Billing Peried shall be calculuted as

follaws:
Hosting Fee = Power Consumption x Actual Hosting Unit Price

Actual -lostina Unit Price Adjustment. Under each Service Order, the initial Aciuai
Hasting Unit Price shall be the Nermal Hesting Unit Price set forth in such Service
Order, subject ie the Fallowing adjustmeni (ar each Billing Pericd:

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(a) Downward Adjustment. Wf the Hosting Fee Ratio for such Billing Period is
higher than 90%, the Actual Hosting Cuit Price applicable to such Billing Period
shall be adjusted to the higher of:

(i) an amaunt equal to the result of (x) 8% of aggregate of the Thearetical
Hashrate PPS Income during such Billing Period, divided by (y) Power
Consumption of such Billing Periad; or

Qi) the Minimum Hosting Unit Price.

(b) Upward Restoration, tn the event that. (x) the Actual Hosting Unit Price is lower
than the Normal Hosling Unit Price, and (y) the Hosting Fee Ratio for such
Billing Period is no higher (han 60%, ihe Aciual Hosting Unit Price applicable
ta such Billing Period shall be adjusted to the lower of:

(i) an amount equal ta the result af (x) 80% of aggregate of the Theoretical
Hashrate PPS {ncame during such Billing Peried, divided by (3) Power
Consumption of such Billing Period; ar

(ii) the Normal Hosting Unit Price.

(c) In the event there are more (we or more types of Hosted Server(s), the Hosting
Fee Ratio and adjustment of Actual Hosting Unit Price fora Billing Periad shall
be calculated and applicd respectively for each (ype of Hasted Serveris).

Other Fees. Other fees sci forth in the applicable Service Order shall be paid in
accordance with such Service Order on a pay-per-use basis; pravided that these lees
may only be incurred after prior written approval of BITMAIN.

Deposit.

(a) Payment of Deposit. For each batch of Hasted Servers under the applicable
Service Order, BITMAIN shall pay to Service Provider the Deposit in
accordance with paragraph 3.1 of such Service Order on ar before the seventh
(7th) Business Day from the date on which BITMAIN has been proviced
documentation that Service Provider has sufficient procurement that the Data
Center Facility has satisfied the conditions of payment of Depasit set forth in
EXHIBIT A of applicable Service Order, except as otherwise agreed by both
Parties in the applicable Service Order.

(b) Delayed Compensation. The amount of the Delayed Compensation shall be
calculated as follows:

Delayed Compensation = )Rated Power of each delayed Hosted Server
(kW) x US$0.01 * Number of delayed hours (any fractional delay of an
hour shall be rounded up to next hour)

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(c)

(dj

Delay in Delivery af Hosted Servers. BITMALN will deliver the respective
batch of Hosted Servers ta the Data Center Facility afer the date an whieh
BITMAIN has been provided documentation that Service Provider has
sulficient procurement that Service Provider has completed the construction of
the Data Center Facility and passed the inspection of the Data Center Facility
by BITMAIN. Except as otherwise agreed by both Parties, in (he event that
BITMAIN fails to deliver the respective batch of Hosted Servers to the Data
Cenier Facility on or before (x) the Initial Date, or Cy) the estimated arrival date
fur the respeetive batch of Hosted Servers as set forth in paragraph 2.2 of the
applicable Service Order, whichever is later:

(i) Service Pravider shall be entitled to deduct from the Deposii the
corresponding Delayed Compensation in accordance with the
corresponding number of hours aud number of Hosted Servers delayed:
and

(ii) if BETMAIN fails to remedy such delay within thirty (30) calendar days,
Service Provider shall be entitled to terminate this Agreement by notice
with numediate effect. Service Provider shall unconditionally renit the
diffecence between the Deposit which has been paid by BICEMALN aad
the deducted Delayed Comipensation to BITMAIN within seven (7)
Business Days from the terminatian af this Agreement. unless otherwise
stipulated in the Agreement.

Delay in Power-On af Hasted Servers.

a) Except as otherwise agreed by both Parties, Service Provider shall, io
(he satisfaction of BITMATN, cannect (1) the Data Center Facility to
electrical power, and (2) enable the Data Center Facility ta reach its
standard operational canditians for the respective batch af Hosted
Servers on or before (x) the Initial Dale, or (y) the estimated power-on
date for each batch of Hosted Servers as sei forth in paragraph 2.t of the
applicable Service Order, whichever is later.

(ii) In the event that ctiher of the conditians set forth in Article 3.4 Gils
to be salistted on time. Service Provider shall immediately be liable to
pay to BITMAIN the carresponding Delayed Compensation in
accordance with the corresponding number of hours and number of

tlosted Servers delayed.

(iti) = Inthe event that either af the canditions set forth in Article 3.4(d) (i) Bails
to be satisfied for more than thirty (30) calendar days, BITMAIN shall
be entitled to (erminate this Agreement by notice with immediate effect.
Service Provider shall unconditionally remit to BITMAIN the Deposit
that has been paid by BITMEAIN in full and all Delayed Compensation

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within seven (7) Business Days from the termination of this Agreement,
unless otherwise stipulated in the Agreement.

{e) In case of any adjustment of Deposit in accardance with Article 6.1(b) and/or
Article 6.1 (e), Service Provider shall return the respective difference between
the pre-adjusiment Deposit and the post-adjustnent Deposit in full two
BITMAIN in accordance with Article 6.1(b) andfor Article 6.1 (2).

() Unless otherwise stipulated in the Agreement, the Deposit that has been paid by
BITMAIN and nat yet returned in accardance with Article 6.1 (b) and/or Article
6.1 (e) shall be returned to BITMAIN in full unconditionally within seven (7)
Business Days from the expiration or termination of this Agecement after
deducting any payable Hosting Fees or compensation as follows, regardless of
whether any disputes have occurred during the performance of this Agreement:

{i) In the event the Hosted Servers have cannected to electrical power fully
or partially. Service Provider shall refund the remaining portion of the
Deposit after deducting any payable and undisputed oulstanding Hosting
Fees and any amount of applicable Delayed Compensation (if any);

(ii) ~~ In the event the Hosted Servers have not connected to electrical power,
Service Provider shall refund the remaining portion of the Deposit after
deducting any amount of applicable Delayed Compensation (if any).

3.5. Prepayment of Hosting Fee. Prepayments of Hosting Fee shall be made by BIFMAIN
to Service Provider as follows:

(a) Prepayment. Within seven (7) Business Days from the date an which BITMAIN
has been provided documentation that Service Provider has sufficient
procurement that the Daia Center Facility has satisfied the canditions of
Prepayment set forth in EXHIBIT A of applicable Service Order for the
respective batch of Hosted Servers on or before (x) the Initial Date, ar (y) the
estimated power-on date for each batch of Hosted Servers as set forth in
paragraph 2.1 of the applicable Service Order, or (2) in the event that Service
Pravider does not perform its obligatians under Article 3.4(d)(i) on time, the
seventh (7"") Business Day after Service Provider has provided BITMAIN with
documentation certifying that it has completed its relevant obligations,
whichever is later, BETMAIN shall pay a prepayment to Service Provider in the
amount of one (1) month’s Monthly Theoretical Hosting Fee calculated based
on the actual quantity of such batch of Hosted Servers powered-on (the
“Prepayment”),

(b) Return of Prepayment. Each Prepayment shall be used to offsec the finally
determined Hosting Fee of the corresponding batch of Hosted Servers for the
first Billing Period and the subsequent Billing Periods (if there is any Balance)
in accordance with Article 3:6. If there is any unused’ Prepayment at the

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expiration ar (ermiuation af this Agreement, Service Provider shall
uncenditionally return such utused Prepayment in dull to BLTMAIN within
seven (7) Business Days fram ihe termination or expiration of this Agreement,
regardless of whether any disputes have occurred during the Term of this

Agreement.

3.6. Invoice. Pavmentand Setdement Mechanism.

(a) Invoice. Service Provider shall issue (he invoice af the Hasting Fee for the
previeus Billing Period to BITMAIN within seven (7) Business Days fram the
ead of such Billing Period, with (i) the Reconciliation Statement for such Billing
Period; and (ii) the supporting documents proving the Power Consumption for
the such Billing Period (including but not limited to, phetos of the Separate
Meter showing the Pawer Consumption at the end of such Billing Period,
inveice of such Billing Periad issued by the relevant power supplier ta Che
Service Provider, and payment receipt indicating Service Provider made the due
payment of such Billing Periad to such power supplier} as attachments to the
invoice.

(b) Revision Against Objection and Payment. BITMAIN shall be entitled to raise
to Service Provider any objection to an invoice (including fis attachments)
issued by Service Provider in accardance with Article 3.6(a) withiu five (5)
Business Days upau receipt of such invoice:

ci} Excepi as atherwise agreed by bath Parties, in the event that BETMAIN
raises no objection ta an invoice ar ifs attachments within the
aforemuniioned period, it shall be deemed thai BITMAIN has approved
the invoice and BITMAIN shall pay to Service Pravider the Hosting Fee
in the invoice within seven (7) Business Days alter BITMAIN’s receipt
af the invoice, subject to the Settlement Mechanism in accordance with
Article 3.4(c).

(ti) fo the event that BITMAIN raises any objection to au invoice andior ils
allachments widtin the aforementioned pertod, the Parties shall
diligently and expeditiously caoperate (co resolve the discrepancies hased
on the factors in disputes, such us. without limitation, Power
Cansumption. Hosting Fee Ratio and Actual Hasting Unit Prive
{including Actual Hesting Unit Price alier adjustment as agreed in
aceardance with (his Agreement. i? applicable) within seven (7)
Business Days upen BITMAIN’s raising of objectton (the
“Confirmation Period”). Should the Parties successfully resolve ali
discrepancies within Confirmation Pertod, as extended by mutual
agreement ef both Parties (such agreed amauat, the “Confirmed
Hosting Fee”). BITMAIN shall pay the Service Provider the I losuing
Fee in an araaunt equal to ihe Conttrned Hosting Fee within sever (7)

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Business Days alter the agreement to the Confirmed Hosting Fee
provided that Service Provider has issued an updated inyeice w
BITMAIN in an amount equal (o such Confirmed Hosting Fee (if the
Confirmed Hosting Fee differs from the Hosting Fee shawn in the
original invoice).

(itt) — In the event that the Parties are unable to resolve any objection to an
invoice in accordance with Article 3.6(b)(ii) (such disputed invoice, the
“Disputed Hosting Fee”), the Partics shall promptly refer the Disputed
Hosting Fee along with all items and calculations therein to an impartial
nationally recognized firm of independent chartered professional
accountants appainicd by mutual agreement of BITMATN and the
Service Provider (the “Independent Accountant"). The Independent
Accountant shall be directed to render a wrilten report on the Disputed
Hosting Fee by confirming the calculations of the Power Consumption.
Actual Unil Hosting Price, Delayed Compensation and Incentive
Caupon (collectively, the “Permitted Disputed Items”) as promptly as
practicable but in no event vreater than thirty (30) days after such
submission to the Independent Accountant, and to resolve only those
unvesolved disputed items set orth in the objection of BITMIAIN
pravided under Article 3.6(6)Gi) in accordance with the terms of this
Agreement. If a Disputed Hosting Fee invalves the resolution af any
disputed items other than the Permitted Disputed Mems, then such
Disputed Hasting Fee shall net be eligible for resolution by the
Independent Accountant and shall be resofved using the dispute
resolulion provisions within Article 16.4 hereof. [fa Disputed fHosting
Fee is submitted to the Independent Accountant, the Service Provider
shall grant the Independent Accountant reasonable access, during
regular business hours and on reasonable advance notice, to the Service
Provider's boaks and records, personnel and facilities, and the Service
Provider and BITMAIN shall each furmish ta the Independent
Accountant such work papers, schedules and other documents and
information relating to the unresolved disputed items as the Independent
Accountant may reasonably request. The Independent Accountant shall

resolve the disputed items acting as an expert and not as an arbitratar
based solely on the applicable definitions and other terms in this
Agreement. The resolution of the disputed items and final determination
of the Disputed Hosting Fee by the Independent Accountant shall be
within the range of values assigned to each such item submitted by
BITMAIN and the Service Provider and shall be {inal and binding on
the Parties hereto absent manifest ecror. The fees and expenses of the
Independent Accountant shall be borne by (i) BITMAIN on the one hand
and the Service Provider on the other hand, in proportion to the amounts
by which their respective calculations of the Disputed Hosting Fee differ

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from the Tasting Fee as finally determined Gy the [ndependent

Accountunt.

For avoidance of doubt, the Parties agree (hat Service Provider shall not suspend
pravision of Services or terminate this Agreement ar any Service Order for
failure of BITMAIN to make payment before the Hosting Fee (including the
Confirmed Hasting Fee and/or the Disputed Hosting Fee) has been finally
determined and due in accordance with this Article 3.6(b). (F BITMAIN fails to
make payment when the Hosting Fee (including the Confirmed Flosting Fee
and/or the Disputed Hosting Fee) has been finally determined and due within
sixty (60) calendar days. Service Pravider shall be entitled ta terminate this
Agreement by natice with immediate effect.

(c) Settlement Mechanism. The Disputed Hosting Fee for cach Billing Peciod shall
be settled in accordance with the follawing mechanism:

For the First Billing Periad:

(i) if the amount of Hosting Fee in the inveice equals ta the Prepayment
provided in accordance with Article 3.5, the Hosting Fee in the Invoice
shall be deemed as fully settled on the date of the invoice:

(ii) ifthe amount aC Hasting Fee in die inveice ts less than (he Prepayment
provided in accardance with Article 3.3, the Hosting Fee in the invoice
shall be deemed as fully settled on ihe date af the invoice and the portion
of the difference beeween the Prepayment and the Hosting Fee (the
“Balanee™) shall be used to offset the Hosting Fee im the subsequent

invoice(s); and

(iii) if the amount af the Hosting Fee in the invaiee is more than the
Prepayment provided in accordance with Article 3.5, BITMAIN shall
pay to Service Provider ihe difference between the Prepayment and the
amount of Hasting Fee in the invoice on or befare the Hosting Fee is
due in accordance with Article 3.6(b) and the Hosting Fee in the invoice
shall be deemed as Cully settled upon BITMAIN’s payment of such

difference.

For the Subsequent Billing Periods:

fiv) BITMAIN shall pay the amount af the Hasting Fee in the invaice alter
deducting the Balance (if any) on or before the Hosting Fee is duc
accordance with Article 3.6(b).
3.7. Confirmation af Hosted Servers Security. Notwithstanding the foregoing, Service

Pravider shalt issue a Confirmation of ILasted Seevers® Security (in the farm as attached
in APPENDIX IL hereto) af providing Hosted Servers” latest information. and the

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current business aperation of Service Provider within nol mare than seven (7) Business
Days before the due date of each af BIYMAIN’s payments hereunder, otherwise
BITMAIN is entifled ta postpone any payments until such confirmation is provided.

3.8. Payment Method of Hosting Fee. All payment of Hosting Fee pursuant to this
Agreement, including any remittance or refund of Hosting Fee, shall be made in
accordance with paragraph 4.2 af the applicable Service Order.

3.9. Incentive Coupon. BITMAIN shall provide a coupon (“Incentive Coupon”) to Service
Provider in an amount equal to 3% of the Hosting Fee of such two consecutive Billing
Periods, in the event that Online Status Ratio of such two consecutive Billing Periods
is no less than 98%, Far the purpose of this Article 3.9, the Online Status Ratio shall be
calculated strictly in accardance with the formula as forth herein without consideration
for technical failures or any power outage due to any reasons, including but nat limited
to any event of Farce Majeure, technical failure or severe weather.

3.10, Increased Cost. {f there are any increases, changes in, or intraduction or administration
of, any new laxes, levies, tariffs, wility cest increase, governmental fees or charges with
respect Co the provision of Services or the operation of the Data Center Facility, Service
Provider shall not pass through any of such amounts to BITMAIN. The Parties shall
solely apply Article 3.2 or Article 6.9(c) or other applicable provisions under this
Agreement to adjust the Hosting Fee.

3.11. Setofl BITMAIN may: set-aff and deduct for any amounts payable under this
Agreement to Service Pravider any amounts awing by Service Provider to BITMAIN
pursuant to this Agreement.

4. REPRESENTATIONS AND WARRANTIES

4.). Each of the Parties hereby makes the following representations and warranties ta (he

other Party:
(a) Ithas the full power and authority to own ils assets and carry on its businesses.
(b) The obligations expressed to be assumed by it under this Agreement are Icgal,

valid, binding and enforceable obligations.

(c) It has the power to enter into, perform and deliver, aud has taken all necessary
action to authorize its entry inte, performance and delivery af, this Agreement
and the transactions contemplated by this Agreement.

(d) The entry into and performance by it of, and the transactions contemplated by,
this Agreement do not and will nat conflict with:

(i) any Applicable Law;

(it) its constituttonal documents; ar

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(itt) any agreement or justrumcat binding upen it ar any of ils assets.
(e) All authavizations required ot desirable:

ai) to enable il to lawfully enter into, exercise its rights under and camply
with its abligatians under this Agreement:

(ii) la ensure that those obligations are legal, valid, binding and enforceable;
and

(iti) to make this Agreement admissible in evidenee in its jurisdiction of
organization.

have been, or will have been by the Gime, obtained or effected and are. ar will
by the apprapriale time be. in full farce and cffeet.

(hy ILis not aware of any circumstances which are likely to lead fa:
at) any authorization obtained or elfecied not remaining in full force and
effect:

(ii) = any authorization not being obtained, renewed or effected when required
or desirable; or

(ii) any authorization being subject ta a condition ar requirement which it
docs not reasonably expect io satisfy or the compliance with which has
or could reasonably be expected ta have a materia adverse effect,

4.2. Service Provider hereby makes the following representiliens and warranties to
BITMAIN:

ta) [thas provided BITMAIN with all the information and materials of which it has
Knowledge in accardance with BITMAIN’s due diligence checklist. No
information ar materials provided by it in the due diligence precess, when taken
as a whale, contains any untrue starement ar omits to state any material act.
There is ue information that Service Provider has net disclosed to BITMALN in
response to BITMAIN’s inquiry, of which any af Service Provider's
Representalives has Knowledge.

(b) The Services shall be free fram detects and shall meet the specifications as
stipulated herein (including but nat limited to provisions af Article 6). Without
prejudice fa BITMAIN's other rights, in te event af any beeach af this warranty,
Service Provider shali make prompl payment uf the fair market value for such
Hesied Servers to BITMAIN if the Hesied Servers are daruaged, last er have

other abnarmalittes due ta reasons aliribuiabie to Service Provider.

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(c) Service Provider represents and warrants that the entry into aud performance by
it off and the transactions cantemplated by, this Agreement does not conflict
with the lease agreement beaveen itself and the relevant landlord in cannection
with the Data Center Facifity. The Service Provider further represents and
warrants that this Agreement is permitted under the use of the related premises.
BITMAIN shall nat in any event be liable for any obligations Co the landlord of
the Data Center Facility (the “Landlord”), including but not limited to rental
or any other fees payable by the Service Provider to the Landlord.

(d) At all times, rights. title and interest in the [losted Servers shall remain
absolutely with BITMAIN or the owner of the Hosted Servers, and the Hosted
Servers shall be identifiable and separate from the Service Provider's awn assels.
For the avoidance of doubt, any claim over the Service Provider in an event of
default relating lo the Service Provider shall exclude the Hosted Servers.

5. VOLUNTARY POWER-OFF AND LOW POWER MODE

tay

In the event (hat the Actual Hosting Unit Price for any Billing Periad has been adjusted
to the Mininuni (esting Unit Price in accordance with Article 3.2, and the Hosting Fee
Ratio has remained at 90% or higher for a consecutive of 24*14 hours in the subsequent
Billing Period, BITMAIN shall be enticed to voluntarily power off any or all of the
Hosted Servers in its sale discretion ar to have (hem operate in Law Power Made ta
reduce the Power Consumption.

Any Power-off Server may remain on rack at the Datla Center Facility for a period of
fourteen (t+) calendar days (exclusive of the first day on which such Power-olf Server
is powered off, the “Voluntary Power-olf Periad™), during which period BITMAIN
shall be entitled (o re-power an such Hosted Server in its sole discretion at any time. At
the expiration of the Voluntary Pawer-olf Periad, the Parties shall negotiate in goad
faith to mitigate losses to the utmost extent.

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During the Voluntary Power-off Period:

Service Provider may request BITMAIN ta continue operating certain number of
Power-olf Servers thal total Power Consumption of which shall aot exceed the
Minimum Power Conwnitment, and all the earning of such Hosted Servers shall solely
owned by BITMAIN. In the event the Hosting Fees during such periad exceed the
amount of earnings, Service Pravider shall compensate BITMAIN for the differences
between such amount of earnings and Hosting Fees.

6. OPERATION ENVIRONMENT OF DATA CENTER FACILITY

6.1. Conditions of the Data Center Facility. No Tater than the Initial Date and at all times up
to and until the termination of this Agreement. Service Provider shall provide
BITMAIN with sufficient server rooms. server positions, racks, power load and
facilities, broadband. network and network facilities, heat dissipation facilities, sand,

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rain and snew-proofing (acilities, lermperature and humidity monitoring and sensing
equipment, sccurily meniloring and other equipmeut ceasgnably required far the narmal
aperation of the Hosted Servers of the reasonable conuuercial standard, satisf¥ing at

least the following requirements:

{a} There shall G¢ at least Qvo aperatars® dedicated network fine access, newvork
bandwidth configuration of LOQMbps pee 10,000 miners, and netwark laicncy
ef no mare than 1O00ms (based on the ping value from the Hested Servers”
intranet LP to ANTPOGL.). Besides, a network environment containing RI4S
interfaces shall be provided for the Monitoring Software's servers in the Data
Center Faciliiy’s operation and maintenance nedwork:

(b) The temperature of the air inlet of any Hosted Server at any fime shall not be
higher than 35°C ar lower than 5°C. [f the temperature conditions (especially
high-temperature conditions) of the Data Center Facility are not sausfied,
BITMAIN shall be entitled to reduce the Hosting Quantity of Hasted Servers ta
satisfy the heat dissipation requicements of the miners at its sole discretion, and
Service Pravider shall (ij) anconditionafly coaperate with BITMAIN to move
the de-racked Hasted Servers due ta temperature reasons designated by
BITMAIN aut of the server ragm, and (ii) adjust the amaunt af the Deposit in
accordance with the reduced Hasting Quantity and return the difference
between the pre-adjusunent Deposil and the post-adjustnent Depasit in full fo
BITMAIN within seven (7) Business Days from reduction af the Hosting
Quantity:

«} The euvironmental humidity of the Duiz Center Caciltly a€ any time shall nat be
higher than 73% ar lower than [0%:

td) The measurement range of the temperature and humidity monitoring and
sensing equipment shall caver -30°C co 60°C. Temperatuce and tunidity
monitoring and sensing equipment may be wired iransnussion equipment or
wireless transmission cquipment, far the canvenience ef operation and

mainienauce real-time monitarins:

(2) The power load provided by Service Provider shall satis!'y the requirements of
this Agreement, the Service Orders and standard operational conditions. In the
event that the pawer load is insulficient for any reasan (iuctuding but not limited
te damage to power suppiy equipment. insufficient supply Crom the pawer
supplier, er policy changes at the location of the Data Center Facility),
BITMAIN shall be entitled to reduce the I fasting Quantity of the Hosted Servers
at its sole discretion, and Service Pravider shall (i) unconditionally coaperate
with BETMAILN (o move ihe de-racked Hosted Servers duc to insufficient power
load designated by BIT MAIN cui af the server rvom, and (it) adjust the amount
af the Deposit in accordance with the reduced Hosting Quantity and return the
difference between the pre-adjustment Depesit and the post-adjusument Deposit

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in full ta BITMAIN within seven (7) Business Days from reduction of the
Hosting Quantity; and

(f) There shall be sufficient forklifts, lift wucks and other related machinery and
equipment to provide timely racking and de-racking services for the Hosted

Servers.

6.2. Exclusive Server Room. Service Provider shall provide exclusive server room(s) for
the storage and operation of the Hosted Servers, which shall be physically separated
froma server rooms at the Data Center Facility for use by ather customers of Service
Provider. No server and/or other hardware equipment othec tian the Hosted Servers
may be allowed in such exclusive server room(s) unless with prior written approval of
BITMAIN. Service Provider shall take necessary measures salisfactory to BITMAIN
to separate the Hosted Servers from other servers and/or hardware equipment, including
but not limited to labeling the Hosted Servers. Besides, Service Provider shall provide
room, network and pawer supply for tie Monitoring Software, separate [rom the Hosted

Servers.

6.3. Standard Hosting Environment. Service Provider shall maintain the standard hosting
environment for the Hosted Servers in accordance with the conditians set forth in the

applicable Service Order.

6.4. Title and Ownership. Service Provider warrants and represents that it has goad title to,
or right by license, lease or other agreement to use, the Data Center Facility, and there
is no actual, pending or threatened dispute or other claim as lo ile and ownership of
the Data Center Facility.

6.5. Safely and Security. Server Provider shall take standard industry practices and all
necessary measures, as well as install all necessary facilitics, (0 ensure safety and
security of the Data Center Facility and the Hosted Servers against any safety accidents
such as damage, loss ar fire outbreak, elc. or any faulls such as dust ingress, waler
ingress or snow ingress, etc. [f any Hosted Server is damaged, lost or has other
abnormalities due to reasons attributable to Service Provider. Service Provider shall
indemnify BITMAIN against its lasses arising therefrom based on the fair markel value
of such Hosted Server.

6.6. Compliance with Applicable Law. Service Provider shall cnsure that the operation of
the Data Center Facility, the individuals of Service Provider and provision of Services
is at all times in compliance with Applicable Laws and that any and all applicable
approvals, certificates, orders, authorizations, permits, qualifications and consents
required for the operation of the Data Center Facility and provision of Services have
been obtained no [ater than the [nitial Date and are not revoked, cancelled or expired
(unless properly renewed an or prior to such expiration) up lo and until the termination
of this Agreement. The Parties recognize that it is Service Provider's sole and exclusive
respansibility to maintain a safe and healthy work environment at the Data Center
Facility that is free from recognized hazards and fully complics with the Applicable

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Laws, including without limitation, the federal Occupational Safety and Health Act
COSHA’, applicable), as well as any similar state or lacal laws. Accordiag(\. Service
Provider promises and hereby covenants to maintain a safe and healthy work
environment at the work places including bul not fimited to the Data Center Facility
and the necessary onsite production and living facilities including office rooms,
mainfenanee roams, cantecn, dormitory and (aileis. that is free from recognized hazards
and fully compliant with OSHA (if applicable), and any similar state or local laws, te
ensure the safety of BITMAIN Personal (as defined below) during their work. Besides,
Service Provider shall organize necessary safely raining and safety drills for BITMAIN
Personal on a regular basis.

6.7. 24/7 Access by BITMAIN Personnel. If there is no other specific agreement, BITMAIN
or the third parly designated by BITMAIN (collectively, the “O&M Service Provider”)
shall be responsible Lor the operation and maintenance of the Hasted Scrvers. The O&M
Service Provider may appaint ane er more individuals (BIL MAIN Persanucl”) to
carry out aperation and maintenance aciivitics on the Hosted Servers onsite at the Daia
Center Facility on a 24-hour per day, 7-day per week basis. Service Provider shall
provide all necessary support and cooperation for the aperation and maintenance of the
Hosted Servers by BITMAIN Personnel, including but not limited to that Service
Provider shall grant BITMATN Personnel access and permit to:

{a} enter into the Data Center Facility:

(b) obtain the operational data of the Hosted Servers:

(c) inspect (he aperational canditians af the Data Center Factlity:
d) perform maintenance on the Hasied Servers;

(2) handle or repair any Hosted Servers that may be damaged, defective,

malfunctioning or not operating: and

) check, examine and conduct inventory audits of the Hosied Servers and

Inventary Assets.

68. ‘fest Site. Service Provider shall provide BITMAIN Personnel with proper test siee for
operatian and maintenance of the Hosted Servers that meets the safety and security
requirements. The test site shall previde 220V power supply and necessary network
access, and shall have no less than 3 power outlets and 5 network interfaces unless
otherwise required by BITMAIN Personnel.

6.9. Online Status Ratio.

(a) Subject to the Actual Hosting Unit Price adjustment in accordance with Article
3.2. Service Provider shall ensure that the Oniine Status Ratio in each Billing
Period is no less than 95%, unless such belaw-95% Online Staius Ratio is

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caused solely by the defects of the Hosted Servers or the inappropriate operation
of the Hosted Servers by BITMAIN Personnel.

(b) If the Online Status Ratio for any Billing Period is less than 95% due to any
substandard condition of the Data Center Facility, including but not limited to,
power connection, network connection, heat dissipation, water purification
and/or other infrastructure, Service Provider shall have a period ef one (1)
month to remedy such substandard condition.

(c) If the Online Status Ratio for the Billing Period immediately after the one-
month remedial period cantinues to be less than 95%, BITMAIN shall be
entitled to (i) terminate this Agreement with immediate effect without any
liability for breach of contact, or (ii) a further reduction of the Actual Hosting
Unit Price so that the Actual Hosting Unit Price for such Billing Petiod shall be
the product of the current Actual Hasting Unit Price which has been adjusted
pursuant to Article 3.2 multiplied by the Online Status Ratio immediately after
the one-month remedial period with effect from the expiration of the remedial
periad up to and uatil the Online Status Ratio for a Billing Period is no fess than
95%.

6.10. Inventory Storage. {In addition te the space required for hosting of the Hosted Servers,
Service Provider shall provide sufficient space to BITMAIN for storage and sate-
keeping of Inventary Asscts.

6.11. Installation and Accuracy of Separate Meter. Service Provider shall install Separate
Mcter(s) at the Data Center Facility 2 monitor the electrical power consumed by the
Hasted Servers, and shall cooperate with BITMAIN to check and calibrate the accuracy:
of the Separate Meter(s) regularly or occasionally in accordance with BI'TMAIN's
request and instructions, to ensure the constant accuracy of the Separate Meter(s).

6.12. Inventory Audit. BITMAIN shall be entiled to conduct inventory audits of the Hosted
Servers regularly ar occasionally, and Service Provider shall provide assistance and
convenience accordingly. If the result ef the inventory audit does nat match the
information as stipulated in the applicable Service Order, Service Provider shall assist
BITMAIN (to discover the reasons. ICany Hosted Server is lost, Service Provider shall
indemnify BITMAIN against its losses arising there(rom based on the fair market value
of such Hosted Server.

7. INSURANCE
7.1. BITMAIN may keep, or procure the owner of ihe Hosted Servers (as applicable) to
keep, in full force and effect during the Term of this Agreement appropriate commercial

general [jability insurance and property insurance covering the Hosted Servers, al the
expense of the applicable owner of the Hosted Servers.

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72. Inthe eventafany damage or loss of the Hosted Servers and upon request oF BITMA LN,
Service Provider shall provide BIUMALN andfor the owner of the Mosted Servers (ats
applicable) with documents and information in support of the insurance claim made to
the insurance company.

7.3. fn the event of any damage or loss of the Hosied Servers caused by or results fram the

negligence or willfi misconduct of Service Provider and thet the insucance is
unavailable or insufficient to caver the losses of BITMAIN and/or the awner af the
(lasted Servers (as applicable), Service Pravicer shall be liable ta indemnify BITMAIN

(for and on behalf of the awner of the Hosted Servers, as applicable) for the difference
between the insurance coverage, if any, and such losses.

8. TITLE AND OWNERSHIP OF HOSTED SERVERS

8.1. Quwmership of Hasted Servers. Subject ta Articles $.2 and §.3, Service Provider

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acknowledges and agrees that the Mosted Servers and Inventory Assets are assets af
BITMAIN ar any third parly designated by BITMAIN (as applicable) (collectively, the
“Owner of Hosted Servers”) and the Owner af Hasted Servers shall solely have the
propcietary interest in the Elosted Servers. ‘The Owner of Hasted Servers” such interest
shall not be affected by any factors. including but nat limited t Service Provider's
operating conditions, financial conditions ar any disputes ar lawsuits against ils
sGarcholders ar any third parties. In no event shail Service Provider's creditors,
shareholders or ather third parties be entitled to file disputes regarding the ownership
of the Owner of Hasted Servers. Without prejudice ta the foregoing, in the event that
any such dispute accurs, Service Provider shall pravide the Qwner af Hasted Servers
with all reasonable assistance in proving the Owner of Hested Servers* proprictary
interest in the I fosted Servers.

Priority Right. [n the event that the Owner of Hosted Servers prapeses te dispese of
any Hasied Server that ts owned by such Owner of Hasted Servers ithe “Gifered
Server™}, the Owner of Hosted Servers shall give Service Pravider notice (the
“Disposal Notice”) ef such proposed disposal ai least seven (7) days prier te the
proposed disposal, and Service Provider shall be entitled t purchase such Offered
Server(s) aC ihe price and an the terms specified in the Dispesal Notice. If Service
Provider waives such priority right. fails (o respond ta the Disposal Natice, ar fails te
execute the purchase agreement of the Offered Server(si within seven (7) days since
the date of the Dispasal Notice. the Owner of Hosted Servers shail be entitled ta dispase
the Offered Server(s) lo any third party without any limitation.

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3. Transfer of Rights. Subject to Article 8.2, ifthe Owner af Hosted Servers Wansférs all

or part of the Offered Server(s) to a third party, BITMAIN shall be entitled ta wansfer
its rights and obligations with regard to the Services hereunder assaciated with such
Offered Server(s) hereunder ta such third-party purchaser, and Service Provider shail
provide corresponding assistance and execute the relevant documents in this regard.

INDEMNIFICATION

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9.1. Service Provider shall indemnify, defen, and hold BITMAIN and its Affiliates, and its
and their officers, directors, agents. and employees, harmless from and against any
third-party action, claim, suit, proceeding, demand. investigation, or charge alleging
any costs, losses, liabilities, damages, ines, judgements, fees, or expenses (including
reasonable attorneys’ fees and caurt casts) directly or indirectly, as a result of, or based
upon or arising out of: (i) Service Provider's performance of the Services hereunder;
(ii) any failure to comply with Applicable Law in connection with the Services ar this
Agreement; (iii) any liability or damage incurred by reason of any act or omission af
Service Provider; or (iv) facts, which if true, would constitute a breach of any af Service
Provider representations, warranties, or covenaats hereunder, including, but not limited
to, Service Provider fails ta provide Services required by BITMAIN in accordance with
this Agrcement, such as frequent power outages at the Data Center Facility, Data Center
Facility being shut down or being required to make improvements by competent
authorities, etc., which prevents Hasled Servers from being in a stable Online Status,
Should (1) in the event that BIE MAIN asserts claim(s) against Service Provider,
Service Provider ails to respond to the claim and take remedial action satisfactory to
BITMAIN within ten (10) days following receipt of written notice thereof from
BITMAIN; or (2) in the event that any third party asserts claim(s) against Service
Provider and/or BITMAIN, Service Provider fails ta use counsel reasonably acceptable
to BITMAIN within ten (10) days following receipt ef written notice thereof from
BITMAIN, BITMAIN shall be entitled to terminate this Agreement by written notice
with immediate effect and control the defense and settlement of any such claim using
counsel af ils own choice with Service Pravider bearing the costs and expenses of such
representation (if applicable). Service Provider may nat settle any action, claim, suit,
proceeding, demand, investigation, ar charge under this Acticle 9.1 without
BITMAIN’s prior written consent. For aveidance of doubt, BITMAIN shall be entitled
(o participate in any defense using its awn counsel at its own cost.

9.2. Subject to other provisions of this Article 9, each Party hereby agrees to indemnify,
defend and hold harmless the other Party and its respective Affiliates, officers, directors,
agents and employees [rom and against any and all losses, liabilities, damages, liens,
claims, obligations, judgments, penalties, deficiencies, costs and expenses (including
reasonable attorneys’ fees and caurt casts) resulting fram or arising aut of any breach
or omission of performance by such Party of any of the representations, covenants or

other agreements in this Agreement.
IQ. FORCE MAJEURE

10.1. A Party shall not be considered to be in default or breach of this Agreement and shall
be excused from performance or liability for damages to the other Party, if and to the
extent that the performance of any obligation of such Party under this Agreement (ather
(han an obligation ta make payment) is prevented, frustrated, hindered or delayed as a
consequence of an event of Force Majeure. provided that:

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10.2.

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{1.

fa} such Party claiming to benefit under this Article LQ (the “Affected Party”)
shall:

(i) immediately and in any event no later than 24 hours (ram ihe eccurrence
of such eventof Force Majeure, give the other Party (the “Non-Affeeted
Party”) a written notice (including via email) setting aut details of such
event af Force Majeure: and

(ii) = within three (3) days fram the occurrence of such event of Farce
Majeure, produce io the Nou-Affected Party supporiing materials
evidencing such event of Force Majeure and how ils occurrence
prevented, frustrated, hindered or delayed the performance of the
Affected Party’s obligation under this Agreement;

(6) the Affected Party shall (ake all necessary measures io mitigate the impact of
such event af Force Majeure and shall resume normal performance of this
Agreement promptly after the removal af such event af Farce Majeure, unless
iC is inupracticable or unnecessary to resume the performance af this Agreement;
and

(ch Notwithstanding any other agreement to the contrary in this Agceement. Service
Provider shall unconditionally waive BITMAIN’s Hosting Fees for the duration
of the Hasted Servers” inoperability due to the effvets of such Force Majeure

event,

ff the normal performance of this Agreement cannot be resumed within fourteen (14)
caleadar days [rom the occurrence of such event af Farce Majeure, BITMAIN shall be
entilled to teeminate this Agreement with immediate effect without any liability for

breach of contract.
TERM AND TERMINATION

‘Term. This Agreement shall have a erm efleetive fram the date hereof (i-¢., August $,
2023) (the “Effective Bate”) and expiring an the second (2nd) anniversary of the Initial
Date Ci.c.. September 30, 2025) (the “Ferm”.

Termination. This Agreement may be terntinated prior to the expiration of the Term:
(a) upon mutual agreement in writing ef the Parties;

(b) upon either Party giving a wrilien notice te the other Party if such ather Party
(ij {thes in any court ar agency pursuant to any Applicable Law, a petition in
hankeuptcy or insolvency or for reorganization or Cor an arrangement or for the
appointnent of a receiver or trustee of such other Part or af its assets, (b) is
served with an invaluntary petition against it, fled tu any inselvency proceeding
that is nol dismissed within nincty (9G) days after the filing thereaf, (c) makes
an assignment of (he assets associated with dus Agreentent for the benelit af its

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creditors, (cl) fails te maintain ar renew any material business registration
license, approval or permit that is required under any Applicable Law to cacry
out its normal business, (e) is subject to actual or potential liquidation, winding
up, ov dissalution, or (f) authorizes or consummates the merger, acquisition,
reorganization. consolidation, business combination ar similar transaction, ar
any transaction or sevies oC transactions in which in excess of 50% of such ather
Party’s voling power is wansferred:

(c) upon Service Provider giving a written notice lo BITMAIN vo terminate
pursuant (o Article 3-4(c)(ii) or ather applicable articles if the situation has nat
been improved afler negatiation between the Parties, and a compensation in an
amount equal to Monthly Theoretical Hosting Fee shall be paid by BITMAIN
to Service Provider upon termination:

(1) upon BITMAIN giving a written notice to Service Provider to terminate
pursuant to Article 3.4(d)(iit), Article 6.9(c), Article 9.1, Article {5.3 or other
applicable articles if the siiuation has not been improved after negotiation
between the Parties, aud a compensation in an amount equal to Monthly
Theoretical Hosting Fee shall be paid by Service Provider ta BITMAIN upon
termination:

(e) upon either Party giving a written notice of iis intention to terminate this
Agreement in whole or in part of no fess than sixty (60) calendar days t the
ather Party, provided thar a compensation in an amount equal to Monthly
Theoretical Hosting Fee shall be paid by this Party to such other Party upon
termination and the termination shall be effective only to the extent of such
natice; and

(f) upon BITMAIN giving a written notice to Service Provider to tenninate

pursuant to Article [0.2.

Effects of Termination. Upon ferminatian of this Agreement:

(a) Service Provider shall:

(i) return (he remaining Deposit to BITMAIN including in accordance with
Articles 3.4(e)(ii), 3-4()Gii) 3.4);

(ii) pay any and all amounts owing to BITMAIN ineluding any Delayed
Compensation under Articles 3.4(d)(iii) and 3.5(b), aud Manthly
Theoretical Hosting Fee under Acticles [1.2(d) or [1.2(e):

(iii) any Balance remaining;

(iv) provide unfettered access to BIFMAIN Personnel to the Data Center
Facility and any assistance requiréd by such BITMAIN Personnel to
remove the BITMAIN Property;

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(v} issue a Gal invoice with the applicable Hosting Fee outstanding up ta
the termination dale in accordance with Article 3.4(a); and

(vt) retuen all Confidential Information of BITMAIN ta BITMAIN and
delete all electronic copies thereof fram irs systems.

(6)  BITMAIN shall:

(i) pay all finally determined invoice amounts aitstanding as of the
termination date:

(it} remove all the Hosted Servers and Inventory Assets [rom the Data
Center Facilities: and

cif) = reuen all Canfidential Information of Service Pravider ta Service
Provider and delete all clectronic copies thereof fram its sysiems.

U4. Survival.

(a) Neither the expiration nor the termination of this Agreement will release either
of the Parties tram any obligation or [liability that accrued priar to such
expiration or termination.

(b) The provisions of this Agreement requiring performance or ful€fiment aller the
expiration ov termination af this Agreement will survive the expiration ar
termination of this Agreement including Article 8, Article 9, Article L1, Article
(2. Article (3, Article Ld and Article 16 and such ather provisions as are
necessary for the interpretation therefor and any ether provisions hereof, the
nature and intent af which is to survive termination or expiration af’ this

Agreement.
12. CONBIBENTIALITY

12.1. From the date of this Agreement andl the fifth (Sth) year anniversary of the expiration
of the Term or the earlier tenninalion pursuant io Article 11.2, cach Party hereby agrees
that it will, and will cause iis Affiliates and its and their respective directors. offteces,
employees. professional advisors. agents and other Persons acting on their bchall
(collectively, “Representatives”) to hoid, in strict confidence the terms and candilions
af this Agreement, all exhibits and schedules attached hereto and ihe Service Order(s},
including their existence, and all nan-public recards, boaks, contracts. insiruments,
computer data and. ather data and information. whether in written, verbal. graphic,
electronic or any other form, provided by any other Party and its Representatives
(exvept t the extent that such information has been (a) already in such Party's
possession priac to the disclosure or obtained by such Party from a source other than
any other Party or its Representatives, provided that, to such Party's knowledge, such
source is nol prohibited fram disclosing such information to such Party or ils
Representatives b¥ a contractual, legal or fiduciary obligation te aay other Parcy or its

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Representatives, (b) in the public domain dhrough no breach af the confidentiality
obligations under this Agreement by such Party, ar (¢) independently developed by such
Party or on ils behalf without reference to any such non-public information) (the
“Confidential Information”).

12.2. Notwithstanding the foregoing, each Party may disclose the Confidential Information
(i) to tts Affiliates and its and their respective Representatives so long as such persons
are subject to appropriate nondisclosure obligations, (ii) as required by applicable Law
(including securities Laws and applicable securities exchanges rules) or requests or
requirements ftom any Governmental Authority oc other applicable judicial ar
Goavernnienial Order, or (iii) in connection with any enforcement of, or dispute with
respeci to ar arising out of, this Ageeement, ar (iv) with the prior written consent of the
other Party.

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The content of this Agreement aud any information disclosed hereunder by the ather
Party in the course of negotiating or performing this Agreement is Confidential
Information under this Agreement and shall only be used in accordance with this
Agreement.

13. INJUNCTIVE RELIEF

(3.L. Service Provider acknowledge that a breach or threatened breach of this Agreement
shall cause serious and irreparable harm to BITMAIN for which monetary damages
alone would not be a sufficient remedy. Accordingly. Service Provider agrees that in
the event of a breach or threatened breach by the Service Provider, BITMAIN shall be
entitled lo injunctive relief and specific performance in addition to any other remedy
available to BITMAIN in equity or at law without the necessity of obtaining any form
of bond or undertaking whatsoever, and Service Provider hereby waives any claim ar
defense that damages may be adequate or ascertainable or otherwise preclude injunctive

reliel.
t4. NOTICES

t4.1. Allnotices, requirements, requests, claims, and other communications in relation to this
Agreement shall be in writing, and shall be given or made by delivery in person, by an
internationally recognized overnight courier service, by registered or certified mail
(postage prepaid. return receipt requested) or electronic mail to the respective Parties
al the addresses specified below or at such other address for a Parly as may be specified
in a nolice given in accordance with this Acticle [4.l. Any such notice or other
communication shall be deemed to have been given and received on the day on which
it was delivered or wansmitted (or, if such day is not a Business Day, on the next
following Business Day).

14.2. The following are the initial address of each Parly:

If to Service Provider:

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Address: 215 East Bay St, Suite 20(K #1712. Charleston, South Carolina 29401
Atta: Benneitech LLC

Email: Bennetlechilcl gmail.com

[fto BUEMAIN:

Address: 900 Old Roswell Lakes Parkway, Suite 310, Roswell. Gu\ 30076, USA

Atta: Legal Department
Email: icgal@bitmain.com

[5.  ANTI-COMMERCIAL BRIBERY

I3.f. Service Provider shall uct, and shail procure its divectars. officers, employees,
cansullants, agents and other representatives (callectively with Service Provider, the
“Service Provider Associaces™) not ta, directly ar indirectly engage in any activity of
commercial bribery. ie. providing any unjustifted interests in any form including but
not limited to cash, cheque, credit card gifts, negotiable securities (including bonds and
stocks), physical objects (including all kinds af high-end household goods, luxury
consumer goods, handicrafts and cellections, as well as hausing, velticles and other
commodities}. entertainment coupon, membership card, cucreney ar rebate ia the form
of goods, kickback, non-praperty interests such as schooling, honor, special weatment.
and cmpfloymeni for relatives and friends, taveling, entertaining and personal service
ete. t@ any director, officer, employee. consultant, agent and other representative of
BITMAIN (collectively, “BEEMLAIN Associates” Jin order lo obtain the any immediate
ar future business opportunity with BITMAIN whether under this Agreement ar any
other business relationship, regacdless of whether such unjustified interests is provided
ea Service Provider Associates’ awn initiative or ia response to explicit oc implicit
request of BITMAIN Assaciates.

15.2. Hany of BITMAIN Associates explicitly: or implicitly requests commercial bribes,
Service Pravider shall immediately noufy BITMAIN af such activity with relevant
evidence and cooperate with BITMAIN in its investigatian.

15.3. [fany ef Service Provider Assaciales commits commercial bribes in contravention af

Acticle (5.1, BITMAIN shall be entitled to terminate this Agreement and any other
existing business cooperation with Service Provider and claim for damazes against

Service Provides.
16. GERERAL

16.1. Entice Agreement and Amendmeat. This Agreement, together with ali Services Orders.

appendixes, schedules, annexes and exhibits, constitute the full and entire understating

and agrécmient between the Parties, and supersede all ather dereements between ar

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BITMAIN v0

among any of the Parties with respect to the subject matters hereof and thereof. This
Agreement may only be amended with the written consent of both Parties or otherwise
as mutually agreed by both Partics.

16.2. Assignment.

(a) BITMAIN may freely assign or transfer any of its rights, benefits or oblivations
under this Agreement in whole or in part ta its Affiliates or to any third party,
provided that, in the event of assigning or transferring ta a third party, Service
Provider may conduct a background check of the third party to mitigate
potential legal or credit risks.

(b) — Service Provider may assign or transfer any of its rights, benefits or obligations
under this Agreement in whole or in part subject to BITMAIN’s prior written
cansent.

(c} This Agreement shall inure to the benefit of and be binding upon the parties
hereto and their respective successors and permitted assigns.

16.3. Non-Solicitation. Service Provider agrees thai from the date af this Agreement until the
first (Ist) year anniversary af the expiration of the Term or the earlier termination
pursuant to Acticle 1.2, unless mutually agreed by both Parties, Service Provider shall
nat (1) directly or indirectly, solicit, recruit, cncaurage or induce employces or
consultants af BITMAIN to (i) terminate such person’s employment ar consulting
relattonship with BITMAIN ve (ii) become employed or cngaged as an employce,
officer, director, member, nianager, partuer or any other type of Service Provider for the
eniployce or any other third party; or (2) use any Confidential Information, directly or
indirectly, to salicit customers or suppliers of BITMAIN or otherwise divert or attempt
to divert business away fram BITMAIN, nor will the employee encourage or assist

athers ta do.

16.4. Governing Law. This Agreement shall be solely governed by and construed in
accordance with the laws of the Relevant Jurisdiction, without regard to principles of

conflict of laws.

16.5. Dispute Resolution. All disputes arising under this Agreement shall be submitted to
arbitration in Houston, ‘Texas before a single arbitratar of the American Arbitration
Assaciation (“AAA"). The arbitrator shall be selected by application of the rules of the
AAA, or by mutual agreement of the parties, except that such arbitrator shall be an
attorney admitted to practice law in the Relevant Jurisdiction. No pacty to this
agreement will challenge the jurisdiction or venue provisions as provided in this section.
No party to this agreement will challenge the jurisdiction or venue provisions as
provided in this section. Nothing contained herein shall prevent the party from
obtaining an injunction. The breaching Party shall bear the attorney fees and arbitration
fees of the non-breaching Party. EACLE PARTY HEREBY ([RREVOCABLY AND
UNCONDITIONALLY WAIVES ANY AND ALL RIGHT TO TRIAL BY JURY IN

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16.6.

16.7.

ANY ACTION, SUIT. PROCEEDING OR COUNTERCLAIM ARISING OUT QF OR
RELATING TO THIS AGREEMENT OR THE TRANSACTIONS
CONTEMPLATED HEREBY, WHETUER BASED ON CONTRACH. TORT OR
ANY OTHER THEORY.

Severability. In case any provision of the Agreement shall be invalid, illegal ar
unenforceable. the validity, legality and enforceability af the remaining pravisions shall
aol in any way be affected or impaired thereby. [fh however, any provision of this
Agreement shall be invalid. illegal or unenforecable under any Applicable Law in any
juvisdiction, it shall, as te such jurisdiction, be deemed modified (© canform to the
minimum requirements of such Applicable Law, or, if for any reason it is not deemed
so madified, it shall be invalid, illegal or unenforceabie only to the extent of such
invalidity, illegality or limitation on enforceability without affecting the remaining
provisions af this Agreement, or the validity, legality ar enforceability of such provision
in any other jurisdiction.

Caunterparts This Agreement may be executed in two or more counterparts, cach oF
which shall be deemed an aviginal. but afl af which together shall canstitute ane and

the same inswument. Facsimile and e-mailed copies of signatures shall be deemed to be
originals for purpases of the effectiveness of this Agreement.

[The remainder of this nage ts intentionally left blank for signature!

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BITMAIN 0

IN WITNESS WHEREOF, the undersigned have executed this Agreement on the date first
written above.

Signed far and on behalf of BITMAIN

BITMAIN TECHNOLOGIES GEORGIA

LIMITED
Lp
SE
Signature ss
Name:
Title:

Signed for and on behalf of Service Provider

BENNETTECEH LLC

Oe
Signature a
Name: Lixiang Hao
Title: Partner
Page 30 of 43

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APPENDIX I
SERVICE ORDER

Date: August 5, 2023
Ref. Number: BMHSBT202308-01

This ts a Service Order under the Service Framework Agreement dated August 5, 2023 (the
“Service Framework Agreement’) between BITMALIN TECHNOLOGIES GEORGIA
LIMITED, a corporation incorporated under the laws of the State of Georgia af the United
States of America (File No. 21203283}, having its registered office at 900 Old Reswell Lakes
Parkway, Suite 314, Reswell, GA 30076 (BITMAIN”) and BENNETTECH LLC, a limited
liability company formed under the laws of the state of South Carolina, the United States of
America (File No. 230424-152941 8), having its registered office at 215 East Bay St. Suife 201k
#712, Charleston, South Caralina 29401 (Service Provider). Unless otherwise specified,
capitalized terms used herein shall have the same meaning as those defined in the Service

Framewark Agreement,
L. DATA CENTER FACILITY

This Service Order is carrespanding to the Information Memorandum af Data Center
Facility submited by the Service Peavider on August 3, 2023 with the reference number
of BMHSBT202308-01 atlached hereto as EXHIBIT A (the “Corresponding Memo”)
as well as the Data Center Facility as described in the Corresponding Memo located at
2066 Malbore Rd. Bennetsville, South Carolina 29512.

2. HOSTING CAPACITY AND MOSTED SERVERS

iw

2.1. Under this Service Order, Service Pravider agrees to provide to BIPMAIN Hasting

Capacity as follaws, together with ihe necessary ansile production and living facilities
including office rooms, maintenance raems, canteen, dormitory and toilets. The number
af the Mininiuin Hasting Quaniity shall be determined based on the calculation afeach
Hosted Server's rated power as 3.G00W.

Hosting Capacizy _ Minimum Hosting Quantity
CMW) a hits)
30 , 8,433 |
2.  ‘Uhe Parties acknowledge and agree that the actual (Hosting Quantity in this instance

shall be determined by the actual average pawer of Hosted Servers. Deiails af the
Hosted Servers hereunder are as Fallows, subject (o the specific madel, power efficiency
and quantity af the Elesied Servers aciually delivered to the Data Center Facility.
Serviec Provider shall ensure that the Data Center Facility has been connected to
electrical power and ceaches its standard operational conditions fur cach batch of
{losted Servers ta be in Online Status ae or before the respective estimaied power-on
date as set forth in the table below.

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: Power Hosting

> Batch > esti Sstimate

; -. Model | Efficiency Quantity ot et P “a nt
| No. Aveival Date ‘er. °
(/T) (Units) CrIVa e oWwer-OR
September 30,
| SIONP | 21.5 9,000 August 20, 2023 | September 30.
j ~ 2023

| In

lrotat |” - 9,000 - .

2.5, The Parties further acknowledge and agree that, subject to the Hosting Capacity and
Minimum Hosting Quantity, BITMAIN shall be entitled to, from time to time, modify
the model of the Hosted Servers and Hosting Quantity, at its sale discretion, by
providing written notice (the “Hosted Servers Modification Notice") in the form
attached hereto as EXHIBIT B of this Service Order seven (7) Business Day's prior to
the delivery, withdrawal, and/or replacement of the Hosted Servers.

Service Provider shall cooperate with BITMAIN to on-rack and/or de-rack of the
Hosted Servers, power on additional Hosted Servers as applicable, and adjust the
amount of the Deposit and Prepayment in accordance with the calculation methos
provided the Service Framework Agreement. In the event where there is a decrease in
the Depasit and Prepayment, Service Provider shall retuen the difference between the
pre-adjustment Deposit and the post-adjustment Deposit in full to BEUMAIN within ten
(10) Business Days [rom the recetpt af the Hosted Servers Modification Notice and
return the Prepayment in accordance with Section 3.5(b) af the Service Framework
Agreement,

3. SERVICE AND FEES

3.1. Deposit. BITMAIN shall pay to Service Provider the Deposit as set forth below in
accardance with the Service Framework Agreement.

Hosting .
t
aah Quantity Beposit Breakdown Pepsi
No. hoe (USS)
(Units)
I 9.000 9,000 x 3.6 (kW) x 0.075% 24 «30 | 1,749,600.00
ot 9,000 - 1,749,600.00
Total

3.2. Hosting Fees. The applicable Hosting Fee under this Service Order are as follows:

Normal Hosting Unit Price (including aon-deductible taxes‘expenses): USS0.075/kWh
Minimum Hosting Unit Price (including non-deductible — taxes/expenses):
US$0.065/k Wh

Monthly Theoretical Hosting Fee (including non-deductible taxes/expenses); Rated

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Power of Each Hosted Server Powered-On (kW) * Normal Hosting Unit Price * 24
30

Qther Fees. BIIMAIN shall pay the following fees as per use, provided that these fees
may be incurred ouly after prior weitien approval af BITMAIN:

tos
ae

) On-rack fee (including nan-deductible faxes‘expenses): USH20 per Hosted
Server

(b) —- De-tack fee (including non-deductible taxes‘expenses): USS20 per Hosted

Server
(ec) Others (please specify): [NiA!

3.4. ‘Taxes and Expenses.

Pursuant te the prevailing tax regulation of the State of South Carolina. the services provided
by the Service Provider or the payment of any amounts made by BITMALIN are not subject to
tax inclucing but limited fa sales and use tax, valued added tax and any other governmental
charges and duties similar to the tax, hence the Service Provider shall not charge any addittanal
taxes in relation (o the services rendered under this agreement. [the lax regulation of the State
af South Carolina changes, the taxes and expenses may be agreed and confirmed in writing by
the Parties otherwise.

4. BILLING AND PAYMENT

4.{. The Prepaymeni is estimated as fallows. subject to the quantily of the Hasted Servers
powered-on as confirmed by documentation provided by Service Provider and the date
of pravisfon of such documentation by Service Provider:

po Hosting | Estimated
' Batch . eee Pde aT Bee . nals 1 Ppa ait
Me Quantity «© Estimated Prepayment Breakdown ; Prepayment
i _. (Units) ‘ Amount (US$)
1 i : 9.000 » 9.000 « 3.6 (KW) » 0.075% 24 x30 | 1,749,600.00
{ {
» En :
: - i 1,749,600.00
! Total | ee fo us yemecne!

4.2. All payment of Hosting Fee under this Serviee Order, including any remittance or
refund of Hosting Fee. shall be made:

via wire wansfer of immediately available funds in the US Dollars to the bank

account of designated by the receiving Party: or

S] via other methads: USDT.

The Parties ayree that BITMALIN shall be entitled ta make payments via the foregoing

methods in its sole discretion. In the event that Service Provider faiis to provide or
Page 33 of 43

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update (if applicable) the correel and the latest valid payment information of Service
Provider, Service Provider shall not suspend provision of Services, terminate the
Service Framework Agreement or this Service Order. or hald BITMAIN liable for any
breach of contract for failure of BITMAIN to make payment due thereto.

4.3. Account Information of Service Provider

[To be provided via payment instruction once available]

4.4. Service Provider also agrees to receive payment in digital currency, by way afa transfer
of USDT to the digital wallet address of USDT:

TVvVvSLpY QCbejK EvNvev V3F4 WT JT Ljutw

The exchange rate between the USDT and US Dollars: USDT/US$=[/1. The Parties
agree that Service Provider would not charge any additional handling fee.

fe
in

Due to the temporary closure of Signature Bank, BITMAIN hereby directs Bitmain
Technologies limited, a BITMAIN affiliate, to make all payments due and payable by
BITMAIN to the Service Provider pursuant to this Agreement on the BITMAIN’s
behalf via the following bank account until BITMAIN’s further written notice
indicated otherwise:

Company Name: Bitmain Technologies Limited

Company address: [I/F., Wheelock Hotse, 20 Pedder Strect, Cental, Hong Kong
Account No: 36807848057

Bank Code: 003

Bank Name: Standard Chartered Bank (Hong Kong) Limited

Bank Address: Payment Centre, 15/F, Standard Chartered Tower, 388 Kwun Tang Road,
Kwun Tang, Kowloon, Hang Kong

SWIFT Cade: SCBLHKHHXXX

5. TERM AND TERMINATION OF SERVICE ORDER

3.1. This Service Order shall be effective from the date hereof and expire on the expiration
or early Cermination of the Service Framework Agreement.

This Service Order may be terminated prior Co ils expiration:

Wh
i

(a) upon mutual agreement in weiling of the Parties;

(b) upon BITMAIN giving a writtea notice fo Service Provider if the Data Center
Facility fails ta meet its standard operational conditions of the respective
losting Capacity for the Hosted Servers ta be in Online Status within thirty (30)
calendar days after the estimated power-on date set forth in paragraph 2.1 of this
Service Order; meanwhile, BIPMAIN shall not be liable to pay Service Provider
any fee, charges or expenses during the period of such operational conditions; —

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a.

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(c) upon Service Provider giving a written natice to BIFMAIN if BITMAIN fails
ta deliver (he first batch of Hosted Servers within thirty 30) calendac days fram
(i) the estimated arrival date set forth in paragraph 2.2 of this Servier Order, ar
(ii) the actual date an whieh the Data Center Facility meets the standard
operational conditions of the respective Hosting Capacity, whichever is later:

and

(d) upon either Party giving a written notice af no less than sixty (60) calendar days
(o the ather Paryy, provided tic a compensation in an ameunt equal ta Mouthly
Theoretical Hosting Fee shaff be paid by this Party to such other Parity upon
iermination.

Upan expiration or early termination of this Service Order, Service Provider shall:

(a) in any cvent no later than five (3) Business Days fror the expiration or carly
termination, issuc the invaice of the Hosting Fee for the unpaid Billing Period,
with the Reconciliation Statement for such unpaid Biliines Periad and the
supporting decuments proving the Power Consumption for tie such Billing
Period (e.g., photos of the Separate Meter showing the Power Consumption at
the end of such Billing Period) as atlachments to the invoice in accordance with
Article 3.0(a) of the Service Framewerk Agreement; and

(bi issue lo BITMALN the updated inveice(s) af the Hosting Fees for the unpaid
Billing Period(s) in accordance with Articles 3.6(b)Gi} and 3.6(b)Gii) af the
Service Framework Agreement (if apalicable).

Settlement of Last Invoice

BITMAIN shail make payment(s) to Service Previder to settle the outstanding ameunt
in the invaice for the unpaid Billing Periad(s) in accordance with Article 3.6(b) of the
Service Framework Agreement (if applicable).

PREVAILING PROVISION

in the event of any discrepancy between ihe pravisien of this Service Order and the
Service Framework Agreement, the prevision in this Service Order shall prevail.

(The remainder of this page is inteationedly leff blak for signature]

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IN WITNESS WHEREOF, the undersigned have executed this Service Order ou the date

first written above.

Signed for and on behalf of BITMAIN

Sigued for and on behalf of Service Pravider

BITMAIN TECHNOLOGIES GEORGIA

LIMITED NOLGS>
Te fy MeO
% NA oe,

Siznature ™ { gS

Name:

Title:

BENNETTECH LLC

Signature

Name:

Lixiong Hao

Title:

Partner

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BIT MAIN 6040
EXHIBET A
INFORMATION MEMORANDUM OF BATA CENTER FACILITY

Service Pravider: BENNETTECH LLC

Submission Dale: August 3, 2023

Ref. Number: BM[ISBT202308-01

BASIC INFORMATION

i Location i 2066 Malbore Rd, Bennetsville, South Carolina 293] 2
Jurisdiction j South Carolina

Land Area (sq. m) , 435.1 Acres

Building Avex (sq.m) i 100,000 SqFt .
Construction Structure + Steel Structure € Warcheuse 0 Container
Designed No. af Racks if4l

Heal Dissipation Methad . = Hydra Cooling & Air Coating

ae tof 8oF HT, . 37 | TE 4 23

Local Temperature (°Cj Max. 3C Min. 3c a a. C

Server Air Inlet Temperature . 75F - 33F 357

‘ Min. Avg FIFLI5C

eC) | Max MC Min ic | ve 3 ce |
Humidity (a) | G7.5%

Alv Pressuve (kPa) | 30.06 "Hg

ELECTRICAL POWER

Power Type

O Wind

ElGrid hybrid

Soler 2]

Fydre oT Nuclear

Electricity Cast (USS 7 kWh)

USS 0.0654 Wh

Max. Power Capacity (MW)

30 MW

Commitment

| NETWORK

Mintmum Power

C] Nat Available
MR 2SMW

* Network Operatar

Band width, M hés

Spectrum or Sandhill

(GOGMbis

* Network

; Conditions of Prepayment

Service Provider completed the vanstruction of the Data Center Facility and
| passed the inspection of the Data Center Facility by BITM. AIN:

Gs

Conditions of Paynrent of Beposit

The respective batch of Hasted Seeuers has been on-racked and contested b ta

| electrical power.

The Data Center Facility has the capability to connecé ta adbcte dl power for the
respective batch of Hosied Servers and

eres al ee eeene en

|
|

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SITMAIN wise

| The high-voltage, medium-voltage and low-voltage transformers arrived at the
‘| Data Center Facility;
2. | The wiring between high-voltage and low-voltage wansformets is completed;
‘The construction of infrastructure, including but not limited to site hardening of
3. { the Data Center Facility, construction of facilities and buildings ave completed:
and
4 The site protection facilities of the Data Center Facility are set up. and the Data
’ | Center Facility has the capability of basic safety protection.
COMPLIANCE STATUS
[2 Not Available
; Project Appraval Documents | — tt ees . ~
ne | & Provided to BITMAIN on [06/20/2023]
Power Purchase ; O Not Available
Agreement(s) 186 Provided to BITMAIN an [06/20/2023]
i C1 Nat Available

Ci Land Ownership Certificate OR X Lease Agreement
OR OF Land License Agreement provided to BIFMAIN
an [06/20/2023]

Land ‘Title Document

Ultimate Beneficiary Owner
of Data Center Facility

OTHER INFORMATION

Gao Feng

The installation location of the separate meter: container.

* Please indicate the ultimate beneficial owner who is either (i) an individual. or ( ii) a company listed on a

qualified stock exchange.

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BS PTIMLAIN vet

EXHIBYE B
NOTICE OP HOSTED SERVERS MODIFICATION
Natice Rel. Number: []

[Date]

Via email

Service Provider: BENNETTECH LLC (“Service Provider”)

Service Order Number: BMHSB'T202308-01

Subject: Modification of Hosted Servers under Service Order [BMHSBT202308-01]

This Hosted Servers Modification Natice (the “No tice”) is being provided in accordance with
ihe Service Framework Agreement daied [ ] between Bitmain Technalogics Georgia

Limited (“BITMAIN” or “we) and Service Provider, and the Service Order dated [ |
thereunder.

This Notice is to inform you of the modification to the Hosted Servers as per paragraph 2.3 of
the Service Order. BITMALIN, in ifs sale diserction. has decided to madil¥

Cithe model of the Hosted Servers, andsar
Hasting Quantity.

I. Hosted Servers. Details of the Hosted Servers hereunder are as follows, subject to the specific
model, power efficiency and quantity af the Hosted Servers actually delivered to the Data

Center Facility:

[oop

Power Hosting . i .

St, oS . = Estieated |  Estinated
Batch Na. thiode!l | Efficiency | Quartity 5 '

. . oe ols Arrival Date ; Power-08 Date
(WP) Units) |

{TBD} ~
1 fe Tord | - . :

Service Provider shall ensure cach batch of Hosted Servers te bc in Online Status an or before
the respective estimated power-on date as set farth in the table above.

2. Denasn. Che amount of the Deposit shall be revised as fallows.

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Batch Hosting Quantity
No, (Gaits)

Deposit

Beposit Breakdown (US3)

[Please insert the corresponding
1 Hosting Quantity] * 3.6 (kl) x
[Please insert the Norsial Hosting Unit
Price] x 24 x30 _
[Please insert the corresponding
> Hosting Quantity] * 3.6 (kW)
{Please insert the Normal Hosting Cnit
Price] x 24 *30
[Please insert the corresponding
Hosting Quantity] * 3.6 (kIF) x

[TBD] ; eres
[Please insert the Normal Hosting Unit
Price] x 24 x30
fit |
Total | i |

4

_

3. Prepayment. The estimated amount of Prepayment shall be revised as follaws, subject to
the quantity af the Hosted Servers powered-on as confirmed by documentation provided by
Service Provider and the date of provision of such documentation by Service Provider:

Estimated
Estimated Prepayment Breakdown Prepayment
_Amount (USS) __

Batch | Hosting Quantity
Na. (Units)

3.6 (AW) & [Please insert the
corresponding Hosting Quantity] *
[Please insert the Normal Hosting

i Unit Price] * 24 x 30
i 3.6 (KF) » [Please insert the
' corresponding Hosting Quantity] *
[Please insert the Normal Hosting
Ginit Price] * 24 x 30
3.6 (KIF) x [Please tusert the
ITBD) corresponding Hosting Quantity] *
“ f (Please insert the Normal Hosting
i Unit Price] * 24 x 30

Aon tae etter

In
Total

4. Payment.
C] In the event where there is an increase in the Depusit and Prepayment, BITMAIN shall,

make additional payment of Deposit and Prepayment in accordance with the terms in the
Service Framework Agreement.

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< [a the event. where there is a decrease in the Deposit and Prepayment, Service Provider
shall ecturn the difference between the pre-adjustment Depasit and the post-adjustuent Depasit
in full © BITMAIN within ten (1Q) Business Days from the receipt af the Hosted Servers
Modification Notice and relurn the Prepayment in accordance with Seetion 3.3(b) of the
Service Framework Agreement,

>

The aforementioned modifications are to wke eiTect on [effective date]. We kindly request that
you make the necessary arrangements for dhe on-rack and power-on of the additional Hosted
Servers as specified abave.

Capitalized terms not defined herein shail have the meaning assigned (o them in the Framewark
Agreement and the Agreement.

Please acknowledge recetpt af this nalice and confirm your understanding of the changes by
receipt of this Hosted Servers Modification Notice by signing and retuming a copy of this
notice to us within three (3) Business Days, no later than [specify deadline]. [C no
acknawledgment af receipt is received by the deadline mentioned above. the Naiice shall be
deemed accepted by Service Provider.

Thank you for your prompt attention to this matter.
Sincerely,

Signed for and on behalf of BITMAIN

BITMAIN TECHNOLOGIES GECGRGIA

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Signature
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Acknowledged and Agreed:

BENNEETPECH LLC

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STATE OF SOUTH CAROLINA
COUNTY OF MARLBORO

LAMILL HOLDING COMPANY, and
AGA CAPITAL, LLC,

V.

BITMAIN TECHNOLOGY GEORGIA
LIMITED,

IN THE COURT OF COMMON PLEAS

C.A. No. 2024-CP-34-

NOTICE OF MOTION
AND MOTION

Plaintiffs,

Defendant.

TO:

BITMAIN TECHNOLOGY GEORGIA LIMITED, DEFENDANT, AND IT’S
ATTORNEY, SOREN YOUNG, NELSON MULLINS RILEY &
SCARBOROUGH LLP, ADR SERVICES FOR AMERICAN
ARBITRATION ASSOCIATION AND ITS REPRESENTATIVE,

CHIMDIMMA ONYEDEBELU:

YOU WILL TAKE NOTICE that the Plaintiffs, Lamill Holding Company, (* Lamill”)

and AGA Capital, LLC, f/k/a AGA Mining, LLC (“AGA,” together with Lamill, the

“Plaintiffs”), by and through their undersigned counsel, move the presiding Circuit Court

Judge for Marlboro County, Court of Common Pleas on the tenth (10th) day after service

hereof, or at such other time and date convenient to the Court and Counsel, in the

Marlboro County Court of Common Pleas, for an order staying the arbitration

proceedings in the matter of Bitmain Technology Georgia Limited vs. Bennettech LLC,

Lamill Holding Company, and AGA Capital, LLC (Arbitration Case No. 01-24-0005-

7869).

S.C. Code Ann § 15-48-20 (b)(2005) allows the Court "... on application to stay an

arbitration proceeding commenced or threatened on a showing that there is no agreement

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to arbitrate". The Plaintiff will suffer extreme prejudice if the stay is not ordered and will

be deprived of important constitutional, due process, substantive, and procedural rights.

The motion is be based upon the Plaintiffs complaint for a declaratory judgement

and applicable statutory and case law.

July 25, 2024
Marion, South Carolina

ROBERT E. LEE, LLC

s/Robert E. Lee

Robert E. Lee — S.C. Bar No. 63052
Post Office Box 1096

Marion, South Carolina 29571
Telephone: 843-423-1313
Facsimile: 843-433-8258
E-Mail: rel@rellawfirm.com

ATTORNEY FOR THE PLAINTIFFS

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STATE OF SOUTH CAROLINA IN THE COURT OF COMMON PLEAS

—_

COUNTY OF MARLBORO

—

C.A. No. 2024-CP-34-002.4 G

LAMILL HOLDING COMPANY, and
AGA CAPITAL, LLC,

ORDER GRANTING EX PARTE
RESTRAINING ORDER
AND
PRELIMINARY INJUNCTION

Plaintiffs,
V.

BITMAIN TECHNOLOGY GEORGIA
LIMITED,

Defendant.

This matter came before the Court on Plaintiffs’ Motion for a Temporary
Restraining Order and Preliminary Injunction against Defendant. This matter was heard
Ex Parte without notice and on July 24, 2024. Robert E. Lee appeared on behalf of

Plaintiffs.

After consideration of the evidence presented by affidavit, and the arguments and

representations of counsel, this Court finds:

1. There is sufficient evidence that Defendants are not entitled to compel the
Plaintiffs, as non-signatories to an agreement to arbitrate, under S.C. Code Ann. §
15-48-10 to proceed to defend claims brought against them under arbitration
proceedings brought in the American Arbitration Association, Arbitration Case No.
01-24-0005-7869 (the “arbitration proceedings”).

2. Plaintiffs will suffer irreparable injury if Defendant and non-party American
Arbitration Association are not restrained from continuing the arbitration
proceedings against the Plaintiffs.

3. The Defendant and non-party American Arbitration Association enjoined from continuing
the arbitration proceedings will suffer minimal or no harm because of the injunction.

4. There appears a strong likelihood of success on the merits of the Plaintiffs’
Complaint.
5. As such, an Order restraining the Defendant from such actions is warranted for

ten (10) days.

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4:24-cv-04267-JD Date Filed 08/02/24 Entry Number 1-1 Page 55 of 57

IT IS THEREFORE ORDERED that Defendant be and is hereby enjoined from
continuing the arbitration proceedings against the Plaintiffs.
IT IS FURTHER ORDERED that non-party the American Arbitration

Association be and is hereby enjoined from continuing the arbitration proceedings

against the Plaintiffs.

IT IS FURTHER ORDERED that this order shall be effective for Ten (10) days

from the date below.

IT IS FURTHER ORDERED that Plaintiffs are not required to pay a security
bond with the Court.

IT IS SO ORDERED

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Honorable Paul M. Burch
Resident Judge of the Fourth Circuit
Court of Common Pleas

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4:24-cv-04267-JD Date Filed 08/02/24 Entry Number 1-1 Page 56 of 57

STALE OF SOUTH CAROLINA ) IN THE COURT OF COMMON PLEAS
)
COUNTY OF MARI BORO ) (A. No. 2024-CP-34-00249
LAMILL HOLDING COMPANY, and )
AGA CAPITAL, LLC, )
)
Plaintitts. ) ORDER GRANTING EX PARTE
) RESTRAINING ORDER
\ ) AND
) PRELIMINARY INJUNCTION
BITMAIN TECHNOLOGY GEORGIA )
LIMITED. )
)
Defendant. )
)

This matter came before the Court on Plaintiffs’ Motion for a Temporary

Restraining Order and Preliminary Injunction against Defendant. This matter was heard

Ex Parte without notice and on July 24, 2024. Robert E. Lee appeared on behalf of

Plaintiffs.

After consideration of the evidence presented by affidavit, and the arguments and

representations of counsel, this Court finds:

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‘There appears a strong likelihood of success on the merits of the Plaintiffs’
Complaint.

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IT IS THEREFORE ORDERED that Defendant be and is hereby enjoined from

continuing the arbitration proceedings against the Plaintiffs,
Iv IS FURTHER ORDERED that non-party the American Arbitration
Association be and is hereby enjoined from continuing the arbitration proceedings
against the Plaintiffs.

IT IS FURTHER ORDERED that this order shall be effective for Ten (10) days
from the date below.

I'l IS FURTHER ORDERED that Plaintiffs are not required to pay a security
bond with the Court,

IT IS SO ORDERED

Honorable Paul M. Burch —

Resident Judge of the Fourth Circuit
Court of Common Pleas

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